~AO 245C ilev. 09/l.l) Case
                       Amended4:14-cr-00072-BRW
                              Judgment in a Criminal Case               Document 53            Filed 06/23/15                      Ic\9~~sterisks
                                                                                                                           Page 1 of 6
                                                                                                                          (NOTE:                                     (*))
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                1heet l                                                                                                                                          I


                                             UNITED STATES DISTRICT COURT                                                              JUN 23 2015

           UNITED STATES OF AMERICA
                                 v.
                                                                                    Case Number: 4:14CR00072-02-BRW
                   JUAN ALONSO-MORALES
                                                                                    USM Number: 28619-009
Date of Original Judgment:                  6/19/2015                               Erin Cassinelli
(Or Date of Last Amended Judgment)                                                  Defendant's Attorney

Reason for Amendment:
D Correction of Sentence on Remand (18 U.S.C. 3742(t)(l) and (2))                   D Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    D Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(l))
D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               D Modification oflmposed Term oflmprisonment for Retroactive Arnendment(s)
r;/ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Gmdelines (18 U.S.C. § 3582(c)(2))

                                                                                    D Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                      D 18 U.S.C. § 3559(c)(7)
                                                                                    D Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
r;/ pleaded guilty to count(s) _c_o_u_n_t_ 3 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
D    pleaded nolo contendere to count(s)
     which was accepted by the court.
D    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                       Nature of Offense                                                               Offense Ended                 Count
  18 U.S.C. 924(c)(1 )(A)              Possession of Firearm in Furtherance of Drug-Trafficking                         6/28/2013                    3

                                        Crime, a Class A Felony


       The defendant is sentenced as provided in pages 2 through                    10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D    The defendant has been found not guilty on count(s)
D    Count(s)                                                    D is   Dare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 6/18/2015




                                                                                    Signature of Judge
                                                                                    BILLY ROY WILSON,                               U.S. District Judge
                                                                                    Name of Judge                                   Title of Judge

                                                                                                 lo~t-3~JDl8
                                                                                    Date
 A0245C'              Case
             (Rev. 09/11)     4:14-cr-00072-BRW
                          Amended Judgment in a Criminal Case     Document 53          Filed 06/23/15     Page 2 of 6
             Sheet'2 - Imprisonment                                                                     (NOTE: Identify Changes with Asterisks(*))

                                                                                                    Judgment - Page _2
                                                                                                                     __ of                 10
 DEFENDANT: JUAN ALONSO-MORALES
 CASE NUMBER: 4: 14CR00072-02-BRW

                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
60 months.




 ri/ The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in educational and vocational programs during incarceration.




  ~ The defendant is remanded to the custody of the United States Marshal.

  D The defendant shall surrender to the United States Marshal for this district:
      D      at                                       D     a.m    D    p.m.      on

      D      as notified by the United States Marshal.

  D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      D      before 2 p.m. on
       D     as notified by the United States Marshal.
      D      as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
  I have executed this judgment as follows:




       Defendant delivered on                                                            to

  a t - - - - - - - - - - - - - - - - with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                               By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                              DEPUTY UNITED STATES MARSHAL
 AO 245C,              Case
              (Rev. 09/l        4:14-cr-00072-BRW
                         l) Amended Judgment in a Criminal Case   Document 53        Filed 06/23/15          Page 3 of 6
              Sheet 3 - Supervised Release                                                                  (NOTE: Identify Changes with Asterisks(*))

                                                                                                                         3 _ of
                                                                                                         Judgment-Page _ _                     10
 DEFENDANT: JUAN ALONSO-MORALES
 CASE NUMBER: 4: 14CR00072-02-BRW
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

*2 years Supervised Release.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully P<?SSess a controlled substance. The defendant shall refrain from an)'. unlawful use of a controlled
 substance. The defendant shall stibm1t to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 rj The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 rj The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments slieet of this judgment.
      . . The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 cond1t1ons on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)    the d~fep.dant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         perm1ss1on of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record. personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defenda.D.t's compliance with such notification requirement.
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AO 245C   (Rev. 09/11) Amended Judgment in a Criminal Case
          Sheet 3C - Supervised Release                                                     (NOTE: Identify Changes with Asterisks(*))

                                                                                        Judgment-Page     _4_ of _ _1_0__
DEFENDANT: JUAN ALONSO-MORALES
CASE NUMBER: 4:14CR00072-02-BRW

                                      SPECIAL CONDITIONS OF SUPERVISION
1. * No Supervised Release is ordered as the defendant is a de portable alien who will likely be deported after
imprisonment. Unless the defendant re-enters the United States without the permission of the United States Attorney
General, should he do so, it will be considered a violation of Supervised Release.
AO 2450
                  Case 4:14-cr-00072-BRW
          (Rev. 09/11) Amended Judgment in a Criminal Case
                                                             Document 53             Filed 06/23/15     Page 5 of 6
          Sheet 5 - Criminal Monetary Penalties                                                        (NOTE: Identify Changes with Asterisks(*))


DEFENDANT: JUAN ALONSO-MORALES
                                                                                                Judgment - Page _ _  s__of              10

CASE NUMBER: 4:14CR00072-02-BRW
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                  Assessment                                         Fine                              Restitution
TOTALS          $ 100.00                                          $ 0.00                             $ 0.00


    The determination of restitution is deferred until _ _ _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately IJroportioned payment, unless specified otherwise
    in the priority ~rder or pe~cen~ge payment column below. However, pursuantto 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the Umted States is paid.

Name of Payee                                                 Total Loss*                Restitution Ordered      Priority or Percentage




TOTALS                                                        $                            $              0.00

D    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ __

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D the interest requirement is waived for           D fine      D restitution.
     D the interest requirement for            D     fine    D restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                  Case 4:14-cr-00072-BRW                          Document 53      Filed 06/23/15           Page 6 of 6
AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments                                                                  (NOTE: Identify Changes with Asterisks(*))

                                                                                                                         6_ of
                                                                                                       Judgment - Page _ _                     10
DEFENDANT: JUAN ALONSO-MORALES
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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ~ Lump sum payment of$ _1O_O_._OO_ _ __ due immediately, balance due

          0 not later than                                         , or
          0 in accordance with D C,              0 D,         0    E,or    0 F below; or
B    0    Payment to begin immediately (may be combined with              D C,      DD, or       OF below); or

C    D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    D    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal moneti_uy 11enalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Pavments shall he annliecl in the followinP- orcler: (1) assessment. (2) restitution nrincinal. tn restitution interest. (4) tine nrincinal.
